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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA


 IN RE:                                                       BK−20−12878−abl
                                                              CHAPTER 7
 METAL PARTNERS REBAR, LLC ,
                        Debtor(s)
                                                              Adversary Proceeding: 23−01067−abl


 TROY S. FOX, CHAPTER 7 TRUSTEE                               SUMMONS AND
                           Plaintiff(s)                       NOTICE OF SCHEDULING
                                                              CONFERENCE IN AN ADVERSARY
 vs                                                           PROCEEDING

 SOULE SOFTWARE CORPORATION                                   Hearing Date: August 7, 2023
                       Defendant(s)                           Hearing Time: 10:00 AM




To each Defendant listed above, YOU ARE SUMMONED and required to submit a motion or answer to the
complaint which is attached to this summons to the Clerk of the Bankruptcy Court within 30 days after the date of
issuance of this summons, except that the United States and its offices and agencies shall submit a motion or answer
to the complaint within 35 days.



Address of the Clerk:

                                           Clerk, U.S. Bankruptcy Court
                                            300 Las Vegas Blvd., South
                                              Las Vegas, NV 89101
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At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:

                                            GARRETT H. NYE
                                    BANKRUPTCY RECOVERY GROUP, LLC
                                         7251 AMIGO ST, STE 210
                                          LAS VEGAS, NV 89119
                                              (702) 483−6126



If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


YOU ARE NOTIFIED that a scheduling conference of the proceeding commenced by the filing of the complaint
will be held at the following time and place.



              Hearing Date:                   August 7, 2023
              Hearing Time:                   10:00 AM
              Hearing Phone Number:           (669) 254−5252
              Hearing Meeting ID:             161 110 6049
              Hearing Passcode:               154251



IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: March 29, 2023



                                                           Mary A. Schott
                                                           Clerk of Court
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                                       CERTIFICATE OF SERVICE

IN RE:                                                           BK−20−12878−abl
                                                                 CHAPTER 7
METAL PARTNERS REBAR, LLC ,
                       Debtor(s)
                                                                 Adversary Proceeding: 23−01067−abl


TROY S. FOX, CHAPTER 7 TRUSTEE, et al,                           COMPLAINT, SUMMONS
                          Plaintiff(s)                           STANDARD DISCOVERY PLAN AND
                                                                 SCHEDULING ORDER PACKET
vs
                                                                 Hearing Date: August 7, 2023
SOULE SOFTWARE CORPORATION, et al,                               Hearing Time: 10:00 AM
                      Defendant(s)




     Vicki DiMaio
I, __________________________,    certify that I am at least 18 years old and not a party to the matter concerning
               (name)
which service of process was made. I further certify that the service of this summons and a copy of the complaint
along with the Standard Discovery Plan and Scheduling Order packet, as required by Local Rule 7016(b), was made
        4/3/2023
on ________________________
               (date)

by:

      X     Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:
              SOULE SOFTWARE CORPORATION                SOULE SOFTWARE CORPORATION
              c/o Kevin M. Soule – Registered Agent     Attn: Steve Jakubowski
              25350 Magic Mountain Pkwy., Suite 300     180 N. LaSalle Street, Ste. 3300
              Valencia, CA 91355                        Chicago, IL 60601
            Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:



            Residence Service: By leaving the process with the following adult at:



            Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
            addressed to the following officer of the defendant at:



            Publication: The defendant was served as follows: (Describe briefly)



            State Law: The defendant was served pursuant to the laws of the State of __________________,
            as follows: (Describe briefly)                                              (name of state)



Under penalty of perjury, I declare that the foregoing is true and correct.
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                                                              16:54:06     Page 4 of 4
          4/14/2023
Dated: _______________________                                 /s/ Vicki DiMaio
                                                   Signature:________________________


               Vicki DiMaio
Print Name: ________________________________________________________________
                   7251 Amigo Street, Ste. 210
Business Address:___________________________________________________________
        Las Vegas
City: __________________________          NV
                                 State: ________________       89119
                                                         Zip: ______________
